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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                              :              CHAPTER 7
                                                    :
BENYOUNES SERHIR,                                   :              CASE NO. 20-71913-JWC
                                                    :
         Debtor.                                    :
                                                    :


 MOTION FOR ORDER AUTHORIZING SETTLEMENT BETWEEN TRUSTEE AND
 PLAZA HOME MORTGAGE, INC. UNDER RULE 9019 OF THE FEDERAL RULES
                   OF BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Benyounes Serhir (“Debtor”), by and through the undersigned

counsel, and files his Motion for Order Authorizing Settlement between Trustee and Plaza Home

Mortgage, Inc. under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Settlement

Motion”). In support of the Settlement Motion, Trustee respectfully shows the Bankruptcy

Court as follows:

                                    Jurisdiction and Venue

         1.    This Bankruptcy Court has jurisdiction over this Settlement Motion under 28

U.S.C. §§ 157 and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408

and 1409. The statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). This Settlement Motion

is a core proceeding under 28 U.S.C. § 157(b)(2).

                                         Background

                                    a. General Background

         2.    On November 19, 2020 (the “Petition Date”), Debtor filed a voluntary petition




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for relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 7 Case No. 20-71913-JWC (the “Bankruptcy Case” or “Case”).

         3.    On the Petition Date, Debtor owned that certain real property commonly known

as 706 Sweet Spice Way, Canton, Cherokee County, Georgia 30114 (the “Property”) jointly

with Souad Oulalite.

         4.    On or about May 26, 2016, Debtor and Souad Oulalite executed a Security Deed

(the “Plaza Security Deed”) in favor of Mortgage Electronic Registration Systems, Inc.

(“MERS”) as nominee for Plaza Home Mortgage, Inc. (“Plaza”), conveying the Property to

secure a debt (the “Plaza Debt”) in the amount of $181,649.00.

         5.    The Security Deed was recorded on the real property records with the Clerk of the

Superior Court of Cherokee County, State of Georgia (the “Real Estate Records”) on June 1,

2016, beginning at page 340 of Deed Book 13867.

         6.    On January 8, 2021, Trustee filed a complaint (the “Complaint”) against, among

other parties, Plaza and Pennymac Loan Services, LLC (“Pennymac”) and initiated the

adversary proceeding styled as Hays v. Plaza Home Mortgage, Inc., et al. (Adv. Pro. No. 20-

5003-JWC) (the “Adversary Proceeding”), in which Trustee has asserted, among other things,

that any transfer (the “Transfer”) arising out of the Plaza Security Deed is avoidable and

recoverable by Trustee for the benefit of the Bankruptcy Estate, under 11 U.S.C. §§ 544, 550,

and 551 (the “Avoidance Issues”).

         7.    Plaza and Pennymac contest Trustee’s claims related to the avoidability and

recoverability of the Transfer.



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                                          b. Filed Claims

         8.   The claims bar date in this case for governmental entities was May 18, 2021, and

for non-governmental entities it was April 6, 2021. The total of the timely filed, non-priority,

general unsecured claims is $22,624.02.

                                  The Proposed Settlement

         9.   Following negotiations, Trustee and Plaza1 (collectively, the “Parties”) reached

an agreement (the “Settlement Agreement”) to resolve the Avoidance Issues raised by Trustee,

subject to Bankruptcy Court approval. A copy of the Settlement Agreement is attached as

Exhibit “A” to this Settlement Motion and is incorporated herein by reference. Significant terms

of the Settlement Agreement follow:2

                  a. Within 30 days of the Settlement Approval Order becoming final and
                     upon receipt of a W-9 for the Bankruptcy Estate, Plaza shall pay or cause
                     to be paid to Trustee $40,000.00 in good funds (the “Settlement Funds”)
                     in one lump sum payment by delivering a check to Trustee in the amount
                     of $40,000.00 made payable to “S. Gregory Hays, Trustee (Serhir).”3

                  b. Effective upon Trustee’s receiving the $40,000.00 Settlement Funds in
                     good funds and the Settlement Approval Order becoming a final order,
                     and except for the rights, duties, and obligations created or preserved
                     under the Settlement Agreement, Trustee releases, acquits, and forever
                     discharges Plaza from any and all Claims (as defined in Section 9 of the
                     Settlement Agreement) of any kind, character, or nature whatsoever,
                     known or unknown, fixed or contingent, that Trustee may have or claim to
                     have against Plaza prior to the Effective Date.



1
       For reasons unknown to Trustee, Pennymac is not a party to the proposed Settlement
Agreement. However, if the Court approves the Settlement Agreement, Trustee will dismiss
with prejudice the claims against both Plaza and Pennymac raised in the Adversary Proceeding.
2
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement shall control.
3
      Capitalized terms not otherwise defined in this Settlement Motion shall have the
meanings ascribed to them in the Settlement Agreement.

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                  c. Effective upon the Settlement Approval Order becoming a final order, and
                     except for the rights, duties, and obligations created or preserved under the
                     Settlement Agreement, Plaza releases, acquits, and forever discharges
                     Trustee and the Bankruptcy Estate and each and every past and present
                     agent, servant, employee, representative and attorney of Trustee or the
                     Bankruptcy Estate from any and all Claims (as defined in Section 9 of the
                     Settlement Agreement) of any kind, character or nature whatsoever,
                     known or unknown, fixed or contingent, that Plaza may have or claim to
                     have against Trustee or the Bankruptcy Estate prior to the Effective Date.

                  d. Effective upon the Settlement Approval Order becoming a final order, the
                     Plaza Security Deed shall be deemed properly perfected, and Plaza and
                     any of its successors in interest are permitted to take any and all actions
                     that they deem necessary or appropriate to perfect the perfection of the
                     Plaza Security Deed.

                  e. The Parties stipulate and agree that Plaza and its successors in interest
                     shall not have a claim as an unsecured creditor in the Bankruptcy Case
                     against the Bankruptcy Estate for or on account of payment of all or any
                     portion of the $40,000.00 Settlement Funds, or for any reason, and that
                     neither Plaza, any of its successors, nor any of their affiliates, agents,
                     principals, or subsidiaries shall receive a distribution from the Bankruptcy
                     Estate.

                  f. Within ten (10) business days of the later of: (a) the Settlement Approval
                     Order becoming a final order, or (b) Trustee’s receiving the Settlement
                     Funds, Trustee and Plaza shall file a stipulation, or other appropriate
                     paper, dismissing with prejudice the claims raised by Trustee against Plaza
                     and Pennymac in the Adversary Proceeding.

                                       Relief Requested

         10.   By this Settlement Motion, Trustee requests that the Bankruptcy Court approve

the Settlement Agreement between the Parties.

                                        Basis for Relief

         11.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice



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Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

         When a bankruptcy court decides whether to approve or disapprove a proposed
         settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties,
               if any, to be encountered in the matter of collection; (c) the
               complexity of the litigation involved, and the expense,
               inconvenience and delay necessarily attending it; (d) the
               paramount interest of the creditors and a proper deference to their
               reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).4

         12.   The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

         13.   Given the potential expense of litigating the claims raised by Trustee and the

contingent nature of the same, in the event that the claims that are proposed to be settled are

instead prosecuted, the amount of time that such litigation will require, the delay before the final

outcome is known (including the time necessary for any potential appeals), and the complexity

and uncertain resolution of factual and legal disputes, settlement on the terms described in the



4
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the
Eleventh Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth
Circuit issued before October 1, 1981.

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Settlement Agreement is a proper exercise of the Trustee’s business judgment and in the best

interests of the Bankruptcy Estate.

         14.    Trustee estimates that the proposed Settlement Agreement will allow him to make

a meaningful distribution to holders of timely filed, non-priority, general unsecured claims. In

fact, Trustee estimates that the proposed Settlement Agreement will allow him to make a similar

(if not better) distribution to holders of non-priority, general unsecured claims as he would make

after litigating the Adversary Proceeding to a judgment in favor of the Bankruptcy Estate

(because of the Section 502(h) claim that would dilute the unsecured creditor pool), and it will

allow him to make the distribution much sooner than he would if he were to litigate the

Adversary Proceeding to a favorable judgment and then, likely, be required to liquidate the

Property. And, finally, it allows Trustee to avoid the risks associated with such litigation, and it

allows Debtor to keep her home.

         15.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Bankruptcy Court approve the Settlement Agreement.

         WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order (i)

granting this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to

effectuate the terms of the Settlement Agreement; and (iii) granting to the parties such other and

further relief that the Court deems just and appropriate.

         Respectfully submitted, this 17th day of November, 2021.

                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Trustee

                                                      By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                            Michael J. Bargar
Atlanta, GA 30363                                          Georgia Bar No. 645709
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                             EXHIBIT “A” FOLLOWS




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                                  CERTIFICATE OF SERVICE

        This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement between
Trustee and Plaza Home Mortgage, Inc. under Rule 9019 of the Federal Rules of Bankruptcy
Procedure by first class United States mail on the following persons or entities at the addresses
stated:

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         This 17th day of November, 2021.
                                                       /s/ Michael J. Bargar
                                                       Michael J. Bargar
                                                       Georgia Bar No. 645709




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